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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
        v.                                         )   Case No. 3:12-CR-067 JD
                                                   )
 OMAR DURAN LAGUNES (01)                           )
 MARGARITO FUENTES REYES (02)                      )
 RAUL RAFAEL ROMAN CAMACHO (03)                    )
 LUIS OMAR MONTES MERINO (04)                      )
 YALITZA EXCLUSA BORRERO (05)                      )
 EVELYN RIVIERA BORRERO (06)                       )

                                        Opinion and Order

        Pending before the Court is a government motion to sever the trial of Defendant Raul

 Rafael Roman Camacho from the trial of his five co-defendants [DE 159]. All defense counsel

 have responded to the motion indicating that they have no objection to the request given the

 Bruton issues alleviated by granting the severance [DE 162, 163, 164, 166, 167, 171]. For the

 following reasons, the Court grants the motion.

                                             Discussion

        Federal Rule of Criminal Procedure 14(a) states: “If the joinder of offenses or defendants

 in an indictment, an information, or a consolidation for trial appears to prejudice a defendant or

 the government, the court may order separate trials of counts, sever the defendants’ trials, or

 provide any other relief that justice requires.” “[W]hen defendants properly have been joined

 under Rule 8(b), a district court should grant a severance under Rule 14 only if there is a serious

 risk that a joint trial would compromise a specific trial right of one of the defendants, or prevent

 the jury from making a reliable judgment.” Zafiro v. United States, 506 U.S. 534, 539 (1992);

 United States v. Plato, 629 F.3d 646, 651 (7th Cir. 2010) (quoting Zafiro). “In all but the ‘most

 unusual circumstances,’ the risk of prejudice arising from a joint trial is outweighed by the
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 economies of a single trial in which all facets of the crime can be explored once and for all.”

 United States v. Alviar, 573 F.3d 526, 539 (7th Cir. 2009) (citation omitted). Yet, as the

 permissive language of the rule indicates, the decision whether to grant a defendant’s severance

 motion under Rule 14 is discretionary. Id.; see Zafiro, 506 U.S. at 538–39 (“Rule 14 does not

 require severance even if prejudice is shown; rather, it leaves the tailoring of the relief to be

 granted, if any, to the district court’s sound discretion.”). District courts should continue to

 evaluate the risk of undue prejudice resulting from joint trials throughout the proceedings.

 United States v. Morales, 655 F.3d 608, 624-25 (7th Cir. 2011) (citation omitted).

        The government contends in its motion to sever that if tried together with his co-

 defendants, then Defendant Raul Rafael Roman Camacho would be deprived of a fundamentally

 fair trial [DE 159]. The reason is that the government intends to introduce a redacted statement

 of Defendant Raul Rafael Roman Camacho (taken from Mr. Roman’s interview with Special

 Agent Havlin), redacted to avoid implicating any non-testifying co-defendant consistent with

 Bruton v. United States, 391 U.S. 123 (1968). Mr. Roman, however, contends that the redactions

 distort the actual content of his statement and that he will be unable to effectively place the

 statement into context on cross-examination without implicating other defendants in violation of

 Bruton. The government acknowledges this problem and believes that without proof of the

 statement made by Mr. Roman to Special Agent Havlin, its evidence would be insufficient to

 proceed to a jury verdict as to Mr. Roman. Every defendant has responded by indicating that

 they have no objection to severing Mr. Roman from the trial [DE 162, 163, 164, 166, 167, 171].

        The Confrontation Clause of the Sixth Amendment guarantees the right of a criminal

 defendant to be confronted with the witnesses against him. The right of confrontation includes

 the right to cross-examine witnesses. Richardson v. Marsh, 481 U.S. 200, 207 (1987). Indeed,

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 severance is proper where the government intends to use a co-defendant’s hearsay confession

 against him but where admission of that confession in the trial of another co-defendant would

 violate that co-defendant’s right to confront witnesses against him. See e.g.,United States v.

 Sutton, 337 F.3d 792, 798-99 (7th Cir. 2003).

        If the statement in question (even if redacted) is admitted into evidence, Mr. Roman

 could be denied his right to effectively cross-examine the witness without violating Bruton. If

 the statement in question is excluded, then the government’s case would be prejudiced. Thus, a

 severance is necessary pursuant to Rule 14 in order to prevent prejudice to the government and

 the defendants.

                                            Conclusion

        Accordingly, the Court GRANTS the government’s uncontested motion to sever [DE

 159]. Defendants Omar Duran Lagunes, Margarito Fuentes Reyes, Luis Omar Montes Merino,

 Yalitza Exclusa Borrero, and Evelyn Riviera Borrero will proceed to jury trial as scheduled on

 Monday, January 14, 2013. Defendant Raul Rafael Roman Camacho’s jury trial will be RESET

 by way of separate order. As a result of Mr. Roman’s severance from the trial of his co-

 defendants, the motions in limine filed by Defendant Omar Duran Lagunes [DE 148] and

 Defendant Raul Rafael Roman Camacho [DE 156] concerning the exclusion of Mr. Roman’s

 statement are DENIED AS MOOT.

        SO ORDERED.

        ENTERED: January 10, 2013

                                                      /s/ JON E. DEGUILIO
                                               Judge
                                               United States District Court




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